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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE MIDDLE DISTRICT OF GEORGIA
                                 MACON DIVISION


VC MACON, GA LLC,

         Plaintiff,

v.                                                             CIVIL ACTION NO.
                                                                5:18-cv-00388-TES
VIRGINIA COLLEGE LLC, and
EDUCATION CORPORATION OF
AMERICA,

         Defendants.


               ORDER DENYING THE UNITED STATES’ REQUEST
          FOR AN EXTENSION OF TIME AND TO RESCHEDULE HEARING



         Before the Court is the United States’ eleventh-hour motion asking for more time

 to decide whether it needs to file a Statement of Interest pursuant to 28 U.S.C. § 517

 regarding the Receiver’s Motion to Confirm and Approve Settlement and Enter Bar

 Order (the “Confirmation Motion”) [Doc. 529]. [Doc. 536, p. 2]. The Government also

 asks the Court to postpone the hearing for the Confirmation Motion that has already

 been set and noticed purely for its own accommodation. 1 [Id. at p. 3]. Quite

 understandably, because the imminent settlement has taken years to achieve, the

 Receiver objects to the Government’s requests. [Doc. 537, p. 2]. For the reasons




 1As noted in the Government’s motion, the Court set today, December 30, 2022, as the final day for any
 interested party to file its objections. As of 11:45 p.m. EST, no other party has objected.
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explained below, the Court DENIES the Government’s Motion [Doc. 536].

       This receivership case began over four years ago, and as the Receiver states in his

Response [Doc. 537], “[i]t is not a secret” that over the past several months he has been

nearing a settlement of his claims against the Directors and Officers regarding the

closure of the Education Corporation of America (“ECA”) and its subsidiary

institutions. [Doc. 537, p. 2]. During those four years, countless individuals have

worked innumerable hours to get this receivership case where it is today. In four days,

on Tuesday, January 3, 2023, the Court will hold a hearing regarding the settlement of

the Receiver’s claims. See [Doc. 531, p. 1].

       In anticipation of that hearing, the Receiver filed a Motion for Expedited Briefing

Schedule [Doc. 530]. The Court granted that motion, and it gave “[a]ny party desiring to

file a response or objection” to the Confirmation Motion until “Friday, December 30,

2022[,]” to do so. [Id.]; see also n.1, supra. When the Court filed its Order Amending

Briefing Schedule [Doc. 531] on December 19, 2022, a Notice of Electronic Filing

(“NEF”) was sent to every case participant for this case who registered to receive them.

       In the Government’s motion, it states that because it is “not a party to this

receivership[,] [it] did not receive the filing.” [Doc. 536, p. 1]. But that tells only part of

the tale. Through its oversight, the Court is well aware of the many conversations that

the Receiver has had and attempted to have regarding the Department of Education’s




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interest or lack thereof in this receivership case. 2 If the Government didn’t receive any

NEFs, it’s because it made the decision to not register for them. The other part of the

tale is that the Government has made the calculated decision not to file any sort of Proof

of Claim for the parties that it suspects may have an interest in the assets that the

Receiver may ultimately marshal or recover. See generally [Doc. 175]. In the Court’s

opinion, the fact that the Government may not have received notice is solely the

consequence of its decisions. It can now live with those decisions.

       Apparently, it was only due to the professional courtesy of the Receiver’s counsel

that the Government received notice of the Court’s impending hearing and the

expedited briefing schedule via email on December 21, 2022. [Doc. 536, p. 1]. The main

reason the Government argues that it needs an extension of time is because “[a]lmost all

individuals at the Department of Justice, [the Department of Education], and [the

Department of Veterans’ Affairs] who have responsibility for evaluating and pursuing

potential claims related to ECA were on leave for at least parts of the period from

December 20 through [December 30, 2022].” 3 [Id. at p. 2]. The Court accepts that the

objection period covered a holiday for “[a]lmost all individuals . . . who have

responsibility for evaluating and pursuing potential claims related to ECA[,]” but that



2For example, the Court has approved expenses for the Receiver to travel to Washington, DC to meet
with the Secretary of Education regarding this case.

3The Government’s counsel who filed the instant motion was on leave “through December 27[.]” [Doc.
536, p. 2].


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doesn’t really help the Government because everyone else involved in this receivership

case, from sole proprietors and family businesses to large law firms, also had to deal

with the holiday season. [Doc. 536, p. 2].

        Now, just hours before deadline to object, the Government raises its hand

wanting more time. Such last-minute efforts just don’t cut it. When you weigh the

length and complexity of this receivership case and the amount of communication

between the Government, the Receiver, and the Receiver’s counsel against the

Government’s grasping argument that the individuals from the aforementioned

agencies were out of the office for nearly two weeks, the Court finds no good cause to

extend its deadline or reschedule its hearing.

        When it comes to prejudice to the Receiver, the Government’s motion also

ignores that he “has incurred significant expense” to provide notice of the Court’s

deadline and the hearing scheduled for January 3, 2023. [Doc. 537, p. 1]. To reset

everything now, based on the Government’s decision to effectively exempt itself from

this receivership case, would require a doubling of those significant expenses at the

burden of the Receivership Estate. 4 [Id. at pp. 1–2].

        Finally, according to the Receiver’s Response, his counsel “made himself

available several times” in the week leading up to the Court’s scheduled hearing to




4Notably, the Government did not offer to reimburse the Receiver for the extra costs associated with
rescheduling the hearing.


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discuss the Settlement Agreement with the Government’s counsel and “answer any

questions” he may have. [Id. at p. 2 n.1]. If the Government believes that it may have an

interest in the assets that the Receiver may collect, it can attempt to press that interest, if

any, in the distribution phase of this receivership case. 5

        SO ORDERED, this 30th day of December, 2022.

                                         S/ Tilman E. Self, III
                                         TILMAN E. SELF, III, JUDGE
                                         UNITED STATES DISTRICT COURT




5By referencing any potential claim in the distribution phase of this case, the Court offers no opinion as to
the Government’s possible waiver of any claim by failing to file the requisite proof of claim as set forth in
one of the Court’s previous orders in this receivership case. [Doc. 175].


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